            Case 1:12-cr-00192-LJO-SKO Document 37 Filed 01/23/14 Page 1 of 3

 1 BENJAMIN B. WAGNER
   United States Attorney
 2 GRANT B. RABENN
   Assistant United States Attorney
 3 2500 Tulare Street, Suite 4401
   Fresno, CA 93721
 4 Telephone: (559) 497-4000
   Facsimile: (559) 497-4099
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                                 IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                            CASE NO. 1:12-CR-00192-LJO-SKO
11
                                   Plaintiff,             STIPULATION FOR PROTECTIVE ORDER
12
                            v.
13
     MICHAEL CHASE STAFFORD,                              COURT: Hon. Lawrence J. O'Neill
14
                                   Defendants.
15

16
            WHEREAS, the discovery in this case is voluminous and contains a large amount of personal
17
     and confidential information (“Protected Information”); and
18
            WHEREAS, the parties desire to avoid both the necessity of large scale redactions and the
19
     unauthorized disclosure or dissemination of this information to anyone not a party to the court
20
     proceedings in this matter;
21
            The parties agree that entry of a stipulated protective order is appropriate.
22
            THEREFORE, Michael Chase Stafford (“Defendant”), by and through his counsel of record,
23
     Jeremy Sergio Kroger (“Defense Counsel”), and the United States of America, by and through Assistant
24
     United States Attorney Grant B. Rabenn, hereby agree and stipulate as follows:
25
            1.      This Court may enter a protective order pursuant to Rule 16(d) of the Federal Rules of
26
     Criminal Procedure, and its general supervisory authority.
27
            2.      This Order pertains to all discovery provided to or made available to Defense Counsel as
28

      STIPULATION FOR PROTECTIVE ORDER                    1
            Case 1:12-cr-00192-LJO-SKO Document 37 Filed 01/23/14 Page 2 of 3

 1 part of discovery in this case (hereafter, collectively known as “the discovery”.
 2          3.      By signing this Stipulation and Protective Order, Defense Counsel agrees not to share any

 3 documents that contain Protected Information with anyone other than Defense Counsel attorneys,

 4 designated defense investigators, and support staff. Defense Counsel may permit Defendant to view un-

 5 redacted documents in the presence of his attorney, defense investigators, and support staff. The parties

 6 agree that Defense Counsel, defense investigators, and support staff shall not allow Defendant to copy

 7 Protected Information contained in the discovery. The parties agree that Defense Counsel, defense

 8 investigators, and support staff may provide Defendant with copies of documents from which Protected

 9 Information has been redacted.

10           4.     The discovery and information therein may be used only in connection with the litigation

11 of this case and for no other purpose. The discovery is now and will forever remain the property of the

12 United States of America (the “Government”). Defense Counsel will return the discovery to the

13 Government or certify that it has been shredded at the conclusion of the case.

14          5.      Defense Counsel will store the discovery in a secure place and will use reasonable care to

15 ensure that it is not disclosed to third persons in violation of this agreement.

16          6.      Defense Counsel shall be responsible for advising Defendant, employees, and other

17 members of the defense team, and defense witnesses of the contents of this Stipulation and Order.

18          7.      In the event that Defendant substitutes counsel, undersigned Defense Counsel agrees to

19 withhold discovery from new counsel unless and until substituted counsel agrees also to be bound by

20 this Order.

21 ///

22 ///

23 ///

24 ///

25 ///

26 ///
27 ///

28 ///

      STIPULATION FOR PROTECTIVE ORDER                    2
           Case 1:12-cr-00192-LJO-SKO Document 37 Filed 01/23/14 Page 3 of 3

 1          8. Defense Counsel reserves the right to later seek to have the terms of this Order modified or

 2 revoked. Defense Counsel agrees to return the discovery to the Government in its complete form if the

 3 terms of this Order are modified or revoked if so requested by the United States.

 4

 5          IT IS SO STIPULATED.
            DATED: January 22, 2014              BENJAMIN B. WAGNER
 6                                               United States Attorney
 7
                                                 By: /s/ Grant B. Rabenn
 8                                               GRANT B. RABENN
                                                 Assistant U.S. Attorney
 9

10          DATED: January 22, 2014              By: /s/ Jeremy S. Kroger
11                                               JEREMY S. KROGER
                                                 Attorney for Defendant
12
     IT IS SO ORDERED.
13

14      Dated:    January 23, 2014                          /s/ Lawrence J. O’Neill
                                                      UNITED STATES DISTRICT JUDGE
15

16

17

18

19

20

21

22

23

24

25

26
27

28

      STIPULATION FOR PROTECTIVE ORDER                  3
